
Motion for leave to appeal dismissed upon the grounds that (1) so much of the order sought to be appealed from as addresses plaintiff’s claims against movants does not finally determine the action within the meaning of the Constitution and it is not a nonfinal order of the type within the meaning of CPLR 5602 (a) (2), and (2) movants are not aggrieved by so much of the order sought to be appealed from as dismissed the complaint against the school district (CPLR 5511). Motion for consolidation dismissed as academic. Cross motion for leave to appeal from so much of the Appellate Division order as denied plaintiff summary judgment against the county defendants dismissed upon the ground that the order sought to be appealed from does not finally determine the action within the meaning of the Constitution and it is not a nonfinal order of the type within the meaning of CPLR 5602 (a) (2); cross motion for leave to appeal otherwise denied. Cross motions for consolidation and for notice to the Attorney-General dismissed as academic.
